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   13

   14                       UNITED STATES DISTRICT COURT
   15                      CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
   16
        ALIZA AMBRIZ, an individual,               Case No.: 2:19-cv-03171
   17

   18                Plaintiff,
                                                   DEFENDANTS JOHNSON &
   19         v.                                   JOHNSON AND JOHNSON &
                                                   JOHNSON CONSUMER INC.’S
   20   JOHNSON & JOHNSON, et al.,                 RESPONSE TO ORDER TO SHOW
                                                   CAUSE WHY REMAINING
   21                Defendants.                   CENTRAL DISTRICT TALC
   22                                              ACTIONS SHOULD NOT BE
                                                   REMANDED
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    1         Johnson & Johnson and Johnson & Johnson Consumer Inc. (together,
    2   “J&J”) hereby respond to the Court’s Order to Show Cause Why Remaining
    3 Central District Talc Actions Should Not Be Remanded, Dkt. No. 10 (the “OSC”),
    4 which has been filed with respect to a number of Talc Claims1 in this Court

    5   (together, the “OSC Cases”).
    6                                  INTRODUCTION
    7         The simplest reason this Court should not remand the OSC Cases is because
    8   there is no need. In Delaware, the District Court has set a schedule for the Venue
    9   Motion that closely mirrors the schedule set in this Court’s OSC. Even a prompt
   10   ruling on the latter would likely precede a ruling on the former by days or weeks—
   11   yet could disrupt the OSC Cases, for example if this Court remands them to state
   12   court and the Delaware District Court then transfers them back into federal court,
   13   as it has the authority to do. Duplicating efforts in this manner would thus be
   14   unproductive at best, counterproductive at worst. The Delaware District Court has
   15   exclusive authority to ultimately fix venue for the OSC Cases (and other Talc
   16   Claims) under 28 U.S.C. § 157(b)(5), so this Court need not endeavor to rule
   17   before a decision on the Venue Motion. That is why other federal courts—
   18   including, so far, in the Southern District of New York, Eastern District of New
   19   York, and Northern District of Ohio—have stayed Talc Claims pending a ruling on
   20   the Venue Motion. “In the interest of conserving judicial resources and avoiding
   21   duplication of effort,” OSC at p.2, J&J respectfully recommends that this Court do
   22   the same.
   23         If this Court nonetheless decides to address remand of the OSC Cases, there
   24   are good reasons why they should not be remanded. First, unlike the two cases this
   25

   26

   27 1 Capitalized terms not otherwise defined herein shall have the same meaning as in
   28 J&J’s Venue Motion, Dkt. No. 1-5.

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    1   Court remanded in substantially similar opinions,2 the majority of the OSC Cases
    2   have not been substantially litigated and do not have imminent trial dates. Indeed,
    3   the majority of these cases remain in the very early stages and have no trial date.
    4   This is particularly important because such cases illustrate how transfer and
    5   centralized adjudication under § 157(b)(5) would benefit not just the courts, but
    6   also the parties—including the plaintiffs not yet scheduled for trial who face a poor
    7   medical prognosis. While plaintiffs’ counsel have generally focused their remand
    8   papers on the in extremis cases that are near trial, many plaintiffs who are also in
    9   extremis but not near trial would stand to benefit from an efficient proceeding in
   10   Delaware District Court. What’s more, transfer under § 157(b)(5) is still
   11   appropriate when there are in extremis cases among the relevant actions, as
   12   reflected in the fact that many courts have applied this provision to transfer cases
   13   similarly alleging serious, even terminal, health conditions allegedly resulting from
   14   defective products. Further still, the Delaware District Court will have mechanisms
   15   at its disposal to ensure that in extremis cases are fairly treated.
   16         Second, although the OSC Cases involve questions of state tort law and are
   17   part of coordinated proceedings in California, neither of these facts warrants
   18   remand. Section 157(b)(5) specifically contemplates transfer of state-law claims by
   19   targeting “personal injury tort and wrongful death claims”—which are almost
   20   always governed by state law. Nor do the OSC Cases raise particularly unusual or
   21   unsettled questions of state law. As to their coordinated status, this yields a benefit
   22   for litigations in California but does not speak to the thousands of additional Talc
   23   Claims scattered throughout the country. The parties cannot avail themselves of
   24

   25 2 Dkt. No. 29, Order Granting Plaintiffs’ Ex Parte Application for Remand, Cabibi
      v. Avon Prods., Inc., Case No. 2:19-cv-03037-CJC-JC (C.D. Cal. May 3, 2019)
   26 (“Cabibi Order”); Dkt. No. 22, Order Granting Plaintiffs’ Ex Parte Application for

   27 Remand, Weirick v. Brenntag N. Am., Inc., Case No. 2:19-cv-03036-CJC-JC (C.D.
      Cal. May 3, 2019) (“Weirick Order”).
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             J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
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    1   any mechanism to aggregate all the Talc Claims in a single forum in California.
    2   But they can do so in Delaware District Court. Section 157(b)(5) transfer and
    3   centralization does not threaten plaintiffs’ jury trial right, offers substantial
    4   efficiencies, avoids the potential for inconsistent rulings, and stands to benefit the
    5   creditors of Imerys Talc America, Inc., Imerys Talc Vermont, Inc., and Imerys
    6   Talc Canada, Inc. (together, the “Debtors” or “Imerys”), including plaintiffs—all
    7   of which are important equitable considerations in any remand analysis this Court
    8   decides to undertake.
    9         Finally, for a number of reasons, there is a strong legal and factual basis for
   10   “related to” jurisdiction over the OSC Cases (and other Talc Claims). All of the
   11   OSC Cases name Imerys as a codefendant. In fact, the Talc Claims (including the
   12   OSC Cases) allege injuries that are fundamentally linked to the talc provided by
   13   Imerys, and only Imerys. That is the reason the OSC Cases (and 90 percent of the
   14   Talc Claims pending against J&J) named Imerys in the first instance.
   15         The express contractual indemnification provisions between J&J and Imerys
   16   further support “related to” jurisdiction. These provisions were automatically
   17   triggered by the filing of the Talc Claims, and they cover litigation defense costs—
   18   which are not contingent on the outcome of any proceeding and do not necessitate
   19   intervening fact-finding. Every dollar that J&J spends now defending itself against
   20   the OSC Cases and other Talc Claims diminishes the Debtors’ estates, which
   21   demonstrates the direct relationship between the matters. Courts have ruled that
   22   precisely these sorts of indemnification provisions support “related to” jurisdiction.
   23   Beyond that, two additional (and independent) factors support “related to”
   24   jurisdiction here: shared insurance policies between J&J and Imerys, and a
   25   complete “identity of interest” in just two talcum powder products sold by J&J and
   26   supplied by Imerys. Ultimately, the basis for “related to” jurisdiction here is
   27   anything but tenuous.
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             J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
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    1         For all these reasons, the OSC Cases should not be remanded.
    2            STATEMENT OF FACTS AND PROCEDURAL HISTORY
    3         In the interest of economy, J&J respectfully refers the Court to the Statement
    4   of Facts and Procedural History Section in its remand opposition briefs filed with
    5   this Court, for initial factual and procedural background. See Dkt. No. 20,
    6   Memorandum in Opposition to Ex Parte Application to Remand, Cabibi v. Avon
    7   Prods., Inc., Case No. 2:19-cv-03037-CJC-JC (C.D. Cal. Apr. 26, 2019) (“Cabibi
    8   Opposition”); Dkt. No. 13, Memorandum in Opposition to Ex Parte Application to
    9   Remand, Weirick v. Brenntag N. Am., Inc., Case No. 2:19-cv-03036-CJC-JC (C.D.
   10   Cal. Apr. 24, 2019) (“Weirick Opposition”).
   11         On May 3, 2019, after briefing on plaintiffs’ motions for remand, this Court
   12   entered substantially similar orders remanding the Cabibi and Weirick cases. The
   13   Cabibi and Weirick Orders described those cases as involving plaintiffs who had
   14   an “imminent trial date” and “rapidly declining” health. Cabibi Order at p.3;
   15   Weirick Order at p.3. It also noted that these two cases had been “substantially
   16   litigated” in a California state-court coordinated proceeding. Id. at p.2. Applying
   17   28 U.S.C. § 1452(b)’s equitable remand standard, id. at pp.4-5, the Court reasoned
   18   that remand was appropriate in these two cases for several reasons. First, it found
   19   they were “state law action[s] at [their] core” and had been substantially litigated in
   20   the coordinated proceeding. Id. at p.6. Second, it found that the in extremis nature
   21   of those plaintiffs’ circumstances, coupled with their imminent trial date,
   22   counseled in favor of remand. Id. at pp.6-7. Finally, it reasoned that the basis for
   23   “related to” jurisdiction “appears tenuous” because Imerys is not a named party to
   24   those actions, and because it is connected “solely” by contractual indemnification
   25   and insurance-sharing agreements with J&J. Id. at p.5. The Court also suggested
   26   that J&J and Imerys would likely not suffer prejudice from remand. Id. at p. 6.
   27

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             J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
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    1         On May 6, 2019, the Court entered the OSC with respect to various State
    2   Court Talc Claims pending before it. The OSC sets briefing to complete on May
    3   20, 2019, with a ruling anticipated by June 3, 2019.
    4         On April 30, 2019 J&J filed in the District of Delaware an Emergency
    5   Motion for Provisional Transfer. See In re Imerys Talc Am., Inc., Case No. 1:19-
    6   mc-00103-MN, Dkt. Nos. 12-16. The Delaware District Court denied that motion
    7   on May 9, 2019, finding emergency transfer unnecessary in advance of a decision
    8   on the merits of the Venue Motion, which will be fully briefed as of May 23, 2019.
    9   See id. Dkt. Nos. 34-35. The Delaware District Court noted its ability to effectuate
   10   transfer of any remanded cases under § 157(b)(5) as a ground for denying
   11   emergency relief. See id. Dkt. No. 34 at p.6.
   12                                      ARGUMENT
   13   I.    Remanding the OSC Cases Would Be Futile in This Context
   14
              As the Court recognized in its OSC, there is an interest in “conserving
   15
        judicial resources and avoiding duplication of efforts.” OSC at p.2 For both
   16
        practical and legal reasons, that interest dictates against remand here. A remand
   17
        ruling here would likely precede the Delaware District Court’s ruling on the Venue
   18
        Motion by mere days or weeks—thus creating an unnecessary duplication of
   19
        efforts. These considerations are only amplified by the governing law, which:
   20
        (i) vests the Delaware District Court with exclusive authority to fix venue; and
   21
        (ii) empowers that court to transfer cases even where they have already been
   22
        remanded to state court.
   23
              In the OSC, this Court set briefing on remand to conclude by May 20, 2019.
   24
        Id. at p.2. The Venue Motion briefing is set to conclude by May 23, 2019, just
   25
        three days later.3 Even if the Court were so inclined, remanding the OSC Cases in
   26

   27   3 See Decl. Ex. A (In re Imerys Talc Am., Inc., Case No. 19-mc-00103-MN, Dkt.
        No. 11 (D. Del. Apr. 29, 201)) (so-ordered by text order Apr. 30, 2019).
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                                           5
             J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
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     1   this context would bring little or no benefit—the OSC Cases would likely be back
     2   in state court for a matter of days or weeks before the Delaware District Court
     3   ruled on the Venue Motion. Indeed, remanding the OSC Cases for a brief spell,
     4   despite the looming prospect of transfer back into federal court, would only breed
     5   uncertainty. These practical considerations speak to the important interest in
     6   “conserving judicial resources and avoiding duplication of efforts.” OSC at p.2.
     7         The relevant law also supports this Court conserving judicial resources by
     8   not considering remand while the Venue Motion is pending before the Delaware
     9   District Court. That is because the Delaware District Court has exclusive authority
    10   to ultimately fix venue for the OSC cases. See 28 U.S.C. § 157(b)(5) (“[P]ersonal
    11   injury tort and wrongful death claims shall be tried in the district court in which the
    12   bankruptcy case is pending, or in the district court in the district in which the claim
    13   arose, as determined by the district court in which the bankruptcy case is pending.”
    14   (emphasis added)); see also Hopkins v. Plant Insulation Co., 342 B.R. 703, 708 (D.
    15   Del. 2006) (recognizing, under § 157(b)(5), court’s “sole authority to determine the
    16   appropriate venue for [actions alleging] personal injury tort and wrongful death
    17 claims against, among others, [non-debtors over which the court has ‘related to’
    18 jurisdiction]”); A.H. Robins Co. v. Piccinin, 788 F.2d 994, 1011 (4th Cir. 1986).4

    19   Should the Delaware District Court grant the Venue Motion, venue for these
    20   actions will be fixed in Delaware and they will be transferred there, mooting any
    21

    22

    23
         4 See also, e.g., Whittingham v. CLC of Laurel, LLC, 2006 WL 2423104, at *1
         (S.D. Miss. Aug. 22, 2006) (“Plaintiff has filed a Motion for Remand and Request
    24   for this Court to abstain. This issue needs to be considered as a part of the big
    25   picture. The District Court in Georgia [with jurisdiction over the bankruptcy]
         should consider this issue.”); Calumet Nat’l Bank v. Levine, 179 B.R. 117, 123
    26   (N.D. Ind. 1995) (staying all proceedings while debtor-defendant pursued section
    27   157(b)(5) motion and deferring ruling on motions because “whichever court
         ultimately takes the case should be the one that rules on the remaining argument”).
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                                            6
              J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
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     1 remand issues. This Court need not endeavor to rule before the Delaware District
     2 Court.5

     3         Recognizing the issues with ruling on remand in this context, several courts
     4   have stayed removed State Court Talc Claims pending a decision by the Delaware
     5   District Court. Chief Judge Colleen McMahon ordered a stay of all current and
     6   future State Court Talc Claims removed to the Southern District of New York. See
     7   Dkt. No. 8., Order, In re Various Removed State Court Actions Against, Inter Alia,
     8   Johnson & Johnson (“State Court Talc Actions”), No. 1:19-cv-03530-JGK
     9   (S.D.N.Y. April 30, 2019) (finding it “in the interest of justice for this court to
    10   await rulings from the District of Delaware and/or from the Multi-District Panel
    11   prior to undertaking any substantive work in connection with any of these removed
    12   State Court Talc Actions”). With reference to Judge McMahon’s order, on May 3,
    13   2019, Magistrate Judge A. Kathleen Tomlinson issued a stay of six months in a
    14   removed talc action pending in the Eastern District of New York. See Decl. Ex. C
    15   (Mustapick v. A. W. Chesterton, Inc., Case No. 2:19-cv-02305-JMA-AKT
    16   (E.D.N.Y. May 3, 2019)) (text order on docket). And on May 6, 2019, Judge Dan
    17   Aaron Polster of the Northern District of Ohio ordered stays of two talc actions
    18   before him, pending the Delaware District Court’s ruling on the Venue Motion.
    19   See id., Ex. D (Berry v. Clark Indus. Insulation Co., Case No. 1:19-cv-00890-DAP
    20

    21
         5 That is particularly so because the Delaware District Court is empowered by
         § 157(b)(5) to transfer cases that have already been remanded. See Decl. Ex. B
    22   (Hopkins v. Plant Insulation Co., Case No. 06-cv-298-JJF (D. Del. May 22,
    23   2006)), Mem. Order 3 (noting that “the Court may consider the transfer of this case
         under Section 157(b) regardless of the decisions reached by the California court on
    24   the transfer and remand issues”); A.H. Robins, 788 F.2d at 998 (affirming district
    25   judge’s order transferring claims, wherever pending, to a single forum); see also In
         re Imerys Talc Am., Inc., Case No. 1:19-mc-00103-MN, Dkt. No. 34 at p.6. Thus,
    26   even assuming this Court rules first and decides to remand the OSC Cases, such
    27   remand can be undone by the Delaware District Court—rendering it unnecessary in
         the first place.
    28
                                           7
             J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
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     1   (N.D. Ohio May 6, 2019)) (text order on docket); id. Ex. E (Reardon v. Colgate-
     2   Palmolive Co., Case No. 1:19-cv-00892-DAP (N.D. Ohio May 6, 2019)) (text
     3   order on docket).
     4          Respectfully, the best course is for this Court to defer consideration of
     5   whether to remand the OSC Cases until the Delaware District Court resolves the
     6   pending Venue Motion. That motion—which is proceeding on a parallel schedule
     7   to the OSC—has the potential to completely moot the remand issue here. In the
     8   interests of comity, efficiency, and achieving uniform outcomes by coordinated
     9   judicial proceedings, this Court should await the Delaware District Court’s
    10   forthcoming decision.
    11
         II.    The OSC Cases Are Different from Others this Court Has Remanded
    12
                If the Court nonetheless addresses remand of the OSC Cases, J&J submits
    13
         that remand is not appropriate for the reasons set forth herein, as well as in the
    14
         remand opposition briefs J&J previously submitted to the Court.6 At the outset, the
    15
         cases covered by the OSC are meaningfully different from Cabibi and Weirick, in
    16
         ways that affect the equitable considerations the Court relied on when remanding
    17
         those cases. The Court reasoned that Cabibi and Weirick had been “substantially
    18
         litigated” and had “imminent trial date[s],” which weighed in favor of equitable
    19
         remand. Cabibi Order at pp.2-3, 5-6; Weirick Order at pp.2-3, 5-6. The same
    20
         cannot be said for the majority of the OSC Cases. Indeed, the majority of the OSC
    21
         Cases are still in the very early stages and do not have trial dates set.7 The earliest
    22

    23
       6 In the interest of economy, J&J will not repeat all the arguments against remand
    24 stated in those oppositions briefs, which it incorporates by reference. See Cabibi

    25 Opposition; Weirick Opposition. Instead, J&J will attempt to address the Court’s
       concerns as reflected in the Cabibi and Weirick Orders.
    26
       7 While two of the OSC Cases have a trial date in June (one of which is subject to
    27 a pending stipulated order to continue trial until October), as discussed in

    28 Argument Section I above, this Court endeavoring to rule before the Delaware
                                             8
               J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
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     1   trial date in the minority of OSC Cases that have a date set is nearly a month away.
     2   Thus, the equitable considerations related to case status, which the Court found
     3   persuasive in Cabibi and Weirick, largely do not apply here.
     4         This Court’s remand orders also emphasized the imminent trial date because
     5   of those plaintiffs’ in extremis condition, which the Court suggested could brook
     6 no delay. Cabibi Order at p.6; Weirick Order at p.6. As discussed above, the
     7 majority of the OSC Cases do not have imminent trial dates.8 For these and many

     8   other plaintiffs around the country who have a poor medical prognosis yet do not
     9   have imminent trial dates, transfer to the Delaware District Court should not be
    10   viewed as presenting a “risk[ of] depriving [them] of [their] day in court,” id., but
    11   rather as a way to efficiently, centrally, and fairly fulfill that right. For example,
    12   the Delaware District Court could hold a single general causation hearing related to
    13   all State Court Talc Claims, and/or set bellwether trials representative of all such
    14   claims. Thus, considering both the differing circumstances in the OSC Cases and
    15   equitable treatment for all claimants/creditors in the Imerys estates—because the
    16 OSC cases do not exist in a vacuum—§ 157(b)(5) transfer will not unduly
    17 prejudice plaintiffs.9 Cf. In re W.R. Grace & Co., 386 B.R. 17 (Bankr. D. Del.

    18   2008) (expanding a preliminary injunction to bar prosecution of pending asbestos
    19

    20 District Court would likely result in a minor difference given the parallel
    21 schedules. If anything, a remand to state court followed in short order by a
       potential transfer to Delaware District Court would only cause more uncertainty
    22 and disruption of these cases’ schedules.

    23 8 For specific plaintiffs who allege that their in extremis condition puts them at risk
    24 of missing imminent trials if their claims are transferred, J&J offers de bene esse
       depositions, and also anticipates that the Delaware District Court would consider
    25 setting such cases for expeditious jury trials.

    26 9 Nor does transfer pose a risk to plaintiffs’ jury trial right, because the Delaware
    27 District Court can hold jury trials. See 28 U.S.C. § 157(b)(5) (providing for venue-
       fixing where “claims shall be tried” (emphasis added)).
    28
                                            9
              J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                  CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
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     1   actions against non-debtor railroad over whom the court found “related to”
     2   jurisdiction, and finding the resulting hardship to asbestos plaintiffs was
     3   outweighed by “[t]he diversion of time, effort and resources that would be required
     4   if the [actions] proceed”).
     5         Certain plaintiffs’ alleged in extremis condition does not bar § 157(b)(5)
     6   transfer. Rather, recognizing other paramount considerations, several courts have
     7   declined to remand and/or have transferred claims involving allegations of serious
     8   (and potentially terminal) medical conditions. See generally, e.g., A.H. Robins Co.,
     9   788 F.2d 994 (affirming transfer and centralization under § 157(b)(5) of thousands
    10 of claims alleging that the Dalkon Shield intrauterine device led to serious medical
    11 complications and death);10 In re Dow Corning Corp., 86 F.3d 482 (6th Cir. 1996)

    12   (reversing district court’s determination of no “related to” jurisdiction over
    13   thousands of claims alleging that implants caused autoimmune disease); In re N.E.
    14   Compounding Pharm., Inc. Prods. Liab. Litig., 496 B.R. 256 (D. Mass. 2013)
    15   (transferring claims under § 157(b)(5) where plaintiffs alleged health product in
    16   question “led to serious fungal infections and … death”); Abbatiello v. Monsanto
    17   Co., 2007 WL 747804 (S.D.N.Y. Mar. 8, 2007) (declining to equitably abstain and
    18   remand plaintiffs’ claims alleging defendants produced chemicals causing “cancer,
    19   liver disease, and other serious illnesses” where debtor and non-debtor defendants
    20   were “inextricably intertwined” and remand would harm administration of debtor’s
    21   estate); Berry v. Pharmacia Corp., 316 B.R. 883 (S.D. Miss. 2004) (declining to
    22   remand cases removed pursuant to “related to” jurisdiction where plaintiffs alleged
    23   serious injuries and deaths resulting from exposure to defendant’s chemicals).
    24

    25
       10 See Gina Kolata, The Sad Legacy of the Dalkon Shield, NY Times (Dec. 6,
    26 1987), online at https://www.nytimes.com/1987/12/06/magazine/the-sad-legacy-
    27 of-the-dalkon-shield.html (Dalkon Shield cases alleged “serious pelvic infections
       leading to infertility or even death”).
    28
                                            10
              J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                  CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
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     1         This legal principle is borne out by the experience with the talc claims. If
     2   certain plaintiffs’ in extremis condition necessarily warranted remand as opposed
     3   to transfer and aggregation, then there could be no multidistrict litigation of like
     4   claims for that reason. But there is. The Judicial Panel of Multidistrict Litigation
     5   transferred and aggregated the majority of the talc claims against J&J. See Case
     6   No. 3:16-md-02738 (D.N.J.). By establishing the MDL, the Panel has effectively
     7   rejected, on behalf of the federal courts, the notion that certain plaintiffs’ in
     8 extremis condition requires thousands of cases to be decided separately, and
     9 potentially inconsistently.11 If this Court considers remand, it should likewise

    10   choose the benefits and efficiencies of adjudication in the Delaware District Court,
    11   notwithstanding the in extremis condition of some plaintiffs—particularly since
    12   most of the OSC Cases do not have imminent trials in the first place.
    13         Of course, with numerous actions progressing non-uniformly across the
    14   country, there is no perfect time to aggregate without implicating some actions’
    15   schedules. There are practicable ways the Delaware District Court could mitigate
    16   any such limited disruption. This Court has remanded two cases that it determined
    17   would be particularly impacted by delay, however short. See generally Cabibi and
    18   Weirick Orders. But there are thousands of Talc Claims that would achieve
    19 significant efficiencies—for the courts and all creditors, including plaintiffs here—
    20 if aggregated under § 157(b)(5).12

    21
         11 J&J has not acted inconsistently by seeking aggregation of the Talc Claims
    22
         under § 157(b)(5), without including the talc cases in the MDL. The MDL has
    23   already achieved the efficiencies that the Venue Motion seeks with respect to non-
    24   MDL claims. There is no comparison between the MDL (which has consolidated
         actions for centralized, efficient adjudication) and the Talc Claims addressed in the
    25   Venue Motion (thousands of which are scattered throughout the country, in state
    26   and federal courts, in differing procedural postures).
    27   12 Whittingham, 2006 WL 2423104, at *1 (finding that venue-fixing court should
         consider issues raised in plaintiff’s remand motion “as a part of the big picture”).
    28
                                            11
              J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                  CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
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     1
         III.    The Delaware District Court Is Empowered to Efficiently Consider
                 State Court Talc Claims Like Those in the OSC Cases
     2
                 This Court also expressed concern that the two cases it remanded were “state
     3

     4
         law action[s] at [their] core,” and were “part of a coordinated proceeding” in

     5   California state court. Cabibi Order at pp.2, 5; Weirick Order at pp.2, 5. Neither of

     6   these concerns warrants remand of the OSC Cases. As to the former, while it is
     7   undisputed that the claims involve questions of state tort law, this is not an obstacle
     8   to § 157(b)(5) transfer. Section 157(b)(5) specifically contemplates the transfer of
     9   state-law claims. See 28 U.S.C. § 157(b)(5) (identifying “personal injury tort and
    10   wrongful death claims” as the ones to be “tried in the district court in which the
    11
         bankruptcy case is pending,” i.e., the Delaware District Court here). By enacting
    12
         this language, Congress “singled out” personal injury and wrongful death claims—
    13
         which are “almost always governed by state law”—as “the very ones it wanted
    14
         transferred.” In re Twin Labs., Inc., 300 B.R. 836, 841 (S.D.N.Y. 2003); see also
    15
         id. (noting the “strong legislative presumption favoring transfer under § 157(b)(5)”
    16

    17
         and finding that, in this context, it is not appropriate to give decisive effect to the

    18   factor of whether state-law issues predominate); In re Montreal Me. & Atl. Ry.,

    19   Ltd., 2014 WL 1155419, at *12 n.20 (D. Me. Mar. 21, 2014) (similarly declining to
    20   apply this factor). Nor are the state-law claims in the OSC Cases particularly
    21   unusual or unsettled. See In re Pan Am. Corp., 950 F.2d 839, 846 (2d Cir. 1991)
    22   (remand based on predominance of state-law questions only warranted where there
    23   is “a particularly unusual question” or “unsettled issues” of state law). The OSC
    24
         Cases concern straightforward tort claims governed by established law. None
    25
         presents questions that are “difficult, unsettled, or unfamiliar to a federal court.” In
    26
         re Twin Labs., 300 B.R. at 841. For these reasons, the state-law character of the
    27
         OSC Cases does not weigh against § 157(b)(5) transfer or in favor of remand.
    28
                                              12
                J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                    CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
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     1         As to the concern that the OSC Cases are already part of California state-
     2   court coordinated proceedings, J&J agrees this would carry great weight if the Talc
     3   Claims were all pending in California. However, just a fraction of the
     4
         approximately 2,400 Talc Claims are pending in California, and only 42 are
     5
         subject to the OSC. In short, these litigations are pending in jurisdictions across the
     6
         country, both state and federal. Plaintiffs cannot dispute that there is no California
     7
         state-court mechanism that would permit aggregation of the Talc Claims in a single
     8
         forum in California, in order to avoid inefficiencies and inconsistent treatment of
     9

    10
         Debtors’ creditors and disparate impacts on Debtors’ estates. There is such a

    11   mechanism to aggregate the claims in Delaware District Court. And while J&J

    12   certainly appreciates the efficiencies achieved within California through the use of
    13   coordinated proceedings, significant additional efficiencies would be gained
    14   through aggregation of the numerous nationwide Talc Claims in the Delaware
    15   District Court. Such efficiencies constitute a key equitable factor to consider here.
    16   See, e.g., In re Cedar Funding, Inc., 419 B.R. 807, 820 n.18 (B.A.P. 9th Cir. 2009)
    17
         (listing first remand factor as “the effect or lack thereof on the efficient
    18
         administration of the estate if the Court recommends [remand or] abstention”);
    19
         Montreal Me. & Atl. Ry., Ltd., 2014 WL 1155419, at *12 (“[J]udicial economy and
    20
         efficiency concerns … though insufficient to create bankruptcy-relatedness
    21
         jurisdiction, do weigh in the determination to retain jurisdiction.” (emphasis
    22

    23
         added)); N.E. Compounding Pharm., 496 B.R. at 273 (finding abstention would be

    24   “counterproductive” to judicial efficiency); In re Nutraquest, Inc., 2004 U.S. Dist.

    25   LEXIS 29143, at *45 (D.N.J. Mar. 8, 2004) (finding abstention improper because
    26   it “would not facilitate the efficient administration of the estate”).13 In sum,
    27
         13 The Court did not explicitly balance this remand factor in the Cabibi and
    28
                                            13
              J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                  CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
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     1   neither the state-law issues in the OSC Cases nor the existence of California
     2   coordinated proceedings requires remand. Because the Delaware District Court’s
     3   venue ruling will very soon determine the appropriate forum, this Court should
     4
         defer deciding remand.
     5
         IV.    There Is a Strong Basis for “Related To” Jurisdiction
     6

     7          As discussed in Argument Section I, the Delaware District Court has

     8   exclusive authority to decide whether to ultimately fix venue under § 157(b)(5),

     9   based on the asserted “related to” jurisdiction over the Talc Claims. Being charged

    10   with the decision on venue, the Delaware District Court is the natural fit for

    11   considering whether “related to” jurisdiction exists. This Court should allow such

    12   issues to be resolved by the Delaware District Court.

    13          Assuming the Court reaches this issue, however, there is a strong legal and

    14   factual basis for “related to” jurisdiction over the Talc Claims. In its remand

    15   orders, the Court reasoned that this jurisdictional claim is “tenuous,” because

    16   “Imerys is not a party to Plaintiffs’ action,” and its connection “rests solely on its

    17   contractual indemnification and insurance-sharing agreements with [J&J].” Cabibi

    18   Order at p.5; Weirick Order at p.5. The Court went on to state that, “If [J&J] is

    19   entitled to contribution or indemnity from Imerys, it can assert a claim against

    20   Imerys’s estates in the Delaware Bankruptcy Court.” Id. at p.6. Respectfully, J&J

    21   submits that the Court’s analysis here would benefit from consideration of

    22   additional important points, described below.14

    23

    24 Weirick Orders, though it cited and considered other factors listed in Cedar
       Funding. Cabibi Order at pp.4-5, Weirick Order at pp.4-5. J&J respectfully
    25 submits that this factor should be duly considered here.

    26 14 In the interest of economy, J&J respectfully refers the Court to the Statement of
    27 Facts and Argument Section II of its Venue Motion for necessary background and
       preliminary argument on federal courts’ jurisdiction over this action.
    28
                                             14
               J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                   CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
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     1         First, Imerys is a named party to all of the OSC Cases—unlike in Cabibi and
     2 Weirick. That consideration, which the Court noted in the Cabibi and Weirick
     3 Remand Orders, therefore does not apply here.15 And the facts here fully support

     4   “related to” jurisdiction, because the allegations against J&J are intrinsically
     5   related to the Debtors’ estate. The Court said it well in the OSC: the Talc Claims
     6   allege “injury and wrongful death caused by the talc used in [J&J’s] products,” and
     7   Imerys is J&J’s sole talc supplier. OSC at pp.1-2 (emphasis added). That is
     8   doubtless why all of the OSC Cases (and 90 percent of the State Court Talc Claims
     9   pending against J&J) named Imerys, contributing to its bankruptcy filing. Plaintiffs
    10   can draw a line directly between the two J&J products at issue and Debtors’ talc;
    11 any liability of J&J derives from, and is intertwined with, talc supplied by Debtors
    12 and therefore Debtors’ own liability.16 In fact, plaintiffs in the OSC Cases have

    13   specifically alleged that the talc Imerys supplied to J&J was contaminated. See,
    14   e.g., Decl. Ex. F (Johnson & Johnson Talcum Powder Cases, JCCP No. 4872,
    15   JCCP Plaintiffs’ Second Amended Master Complaint (Jan. 15, 2019), at ¶¶ 150-52,
    16
         15 Even if Imerys were not named in the OSC Cases (or if it were dismissed or
    17   severed), courts have exercised jurisdiction over actions against third parties that
    18   do not name the debtors. See, e.g., Montreal Me. & Atl. Ry., Ltd., 2014 WL
         1155419, at *1, *12 (granting § 157(b)(5) transfer though claims against debtors
    19   had been dismissed, and in actions where debtors had not been named); W.R.
    20   Grace & Co., 386 B.R. at 23-30 & n.33 (exercising “related to” jurisdiction over
         100+ asbestos-related personal injury suits against non-debtor railroad, most of
    21   which did not name any debtors). A proceeding “need not necessarily be against
    22   the debtor or against the debtor’s property. An action is related to bankruptcy if the
         outcome could alter the debtor’s rights, liabilities, options, or freedom of action
    23   (either positively or negatively) and which in any way impacts upon the handling
    24   and administration of the bankrupt estate.” Pacor, Inc. v. Higgins, 743 F.2d 984,
         994 (3d. Cir. 1984).
    25
       16 Nor do any plaintiffs in the State Court Talc Claims attempt to argue that J&J
    26 “added” asbestos to the talc it received from Debtors, creating some supervening,
    27 separate liability. Plaintiffs’ case theory is therefore integrally related to the action
       or inaction of Debtors in supplying allegedly contaminated talc.
    28
                                            15
              J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                  CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
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     1   213, 228 (master complaint for 26 of the OSC Cases, alleging that defendants
     2   knew of asbestos contamination in talc supply); Id., Ex. G (LAOSD Asbestos
     3   Cases, JCCP Case No. 4674, Plaintiffs’ Responses to Special Interrogatories (July
     4   13, 2018)), at 2 (alleging that Debtors engaged in “supply of asbestos-
     5   contaminated talc” to J&J from 1967 through 2003). If Debtors had supplied
     6   contaminated talc, as alleged, it would also violate J&J’s contractual supply
     7   specifications, which establishes that Debtors are real parties in interest to the Talc
     8 Claims. See, e.g., id., Ex. H (1989 Agreement) § 6(b), Exhibit E § 1, Exhibit E-5
     9 § 2; id., Ex. I (2001 Agreement) § 2.2.17 Under these facts and applicable law,

    10   “related to” jurisdiction exists.
    11         Second, the type of contractual indemnification provisions here do not
    12   suggest that “related to” jurisdiction is “tenuous.” Rather, the indemnification
    13   provisions are exactly the kind that courts have found give rise to “related to”
    14   jurisdiction. That is because the provisions here were automatically triggered by
    15   filing of the Talc Claims—without regard to those claims’ ultimate resolution—
    16   and are not contingent on any subsequent proceeding. In particular, the supply
    17   agreements state that Debtors are to “indemnify, defend and hold harmless [J&J]
    18 … from and against all liabilities arising out of any violation by [Debtors] of any
    19 law, ordinance, regulation or rule.”18 See id., Ex. H (1989 Agreement) § 10; id.,

    20
       17 Before 1989, Windsor Minerals, Inc. (now known as Debtor Imerys Talc
    21
       Vermont) supplied cosmetic talc to J&J. See id., Ex. J (Imerys First Day Decl.) ¶
    22 12. Pre-1989 liabilities for failure to conform to the specifications “then in effect,”

    23
       where “such variance from such specifications was a material contributing factor in
       the claim, suit, demand or cause of action being asserted,” remain with Debtor
    24 ITV. Id., Ex. H (1989 Agreement) § 10.

    25 18 There can be no doubt that plaintiffs in the OSC Cases are alleging violations of
    26 “any law, ordinance, regulation or rule.” See, e.g., id., Ex. F (Johnson & Johnson
       Talcum Powder Cases, JCCP No. 4872, JCCP Plaintiffs’ Second Amended Master
    27 Complaint), at ¶¶ 32-49, 149, 260-61 (master complaint for 26 of the OSC Cases,

    28 alleging violations of California Proposition 65 and 21 C.F.R. § 740.1(a)); id., Ex.
                                            16
              J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                  CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
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     1   Ex. I (2001 Agreement) § 7(a)(iv) (emphasis added). Under the plain terms of
     2   these provisions, Debtors are required to defend J&J against plaintiffs’
     3   allegations—meaning the duty to defend is not contingent on any fact-finding. No
     4   matter the ultimate verdict, each dollar J&J spends defending itself against the
     5   OSC Cases and other Talc Claims decreases the portion of the Debtors’ estates
     6   available to satisfy other creditors.
     7         Courts faced with express, contractual indemnification provisions that are
     8   triggered without any subsequent proceeding, as here, have found “related to”
     9   jurisdiction. See, e.g., In re Millennium Lab Holdings II, LLC, 591 B.R. 559, 583
    10   (D. Del. 2018) (finding “related to” jurisdiction on the basis of “contractual
    11   obligations to advance defense costs to the indemnified released parties before any
    12   final determination on the merits and without regard to the substance of the
    13   underlying putative claims against them”); In re Lower Bucks Hosp., 488 B.R. 303,
    14   316 (E.D. Pa. 2013), aff’d, 571 F. App’x 139 (3d Cir. 2014) (finding “related to”
    15   jurisdiction over class action against non-debtor on basis of contractual
    16   indemnification language imposing an obligation on debtor “to assume the defense
    17   and the expense of defending against [the] claims, even though [the non-debtor’s]
    18   liability has not yet been established” because such an “indemnification obligation,
    19   at least in part, was triggered upon the filing of the class action against [non-
    20   debtor]; and, it is not contingent upon a finding of liability”); Royal Indem. Co. v.
    21   Admiral Ins. Co., 2007 WL 4171649, at *5 (D.N.J. Nov. 19, 2007) (claim for
    22   indemnification was “ripe” and thus supported “related to” jurisdiction where
    23   express language of agreement contemplated a duty to “indemnify and hold
    24   harmless . . . against any loss related to such claims”). Similarly, in In re Federal-
    25
       K (LAOSD Asbestos Cases, JCCP Case No. 4674, Fong Second Amended
    26 Complaint), at pp.16-17 (alleging violations, inter alia, of California Civil Code
    27 sections 1708 and 1710). Also, as discussed above, J&J’s supply agreements with
       Debtors specified that the talc shall not contain asbestos.
    28
                                            17
              J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                  CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
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     1   Mogul Global, Inc., 282 B.R. 301 (D. Del. 2002), the court recognized that
     2   absolute indemnification rights with respect to a non-debtor “plainly established a
     3 sufficient nexus” for “related to” jurisdiction. Id. at 309 (emphasis added). So too
     4 here.19

     5         Third—and as another basis for “related to” jurisdiction—J&J and Imerys
     6   have shared insurance that threatens to deplete the pool of assets in the estates
     7 available for creditors. Like the indemnification provisions, this insurance covers
     8 defense costs, which immediately began to accrue.20 Id., Ex. L (Aetna Products
     9   Liability Insurance Policy) § 1 (providing right and duty to defend against suits,
    10   even if allegations are groundless, false, or fraudulent). If it is ultimately
    11   determined that Debtors are entitled to some of the insurance proceeds, but those
    12   proceeds have already been exhausted by J&J, the distributions available to
    13

    14   19 The Court may have concluded the indemnification provisions here provide
    15   only a “tenuous” connection based on cases dealing with common law, non-
         contractual indemnification claims, which are contingent on a subsequent
    16   proceeding and have not ripened. See, e.g., Pacor, 743 F.2d at 995 (finding no
    17   “related to” jurisdiction on the basis of non-contractual indemnification claims that
         did not give rise to any automatic liability and would require a subsequent
    18   proceeding); In re Combustion Eng’g, Inc., 391 F.3d 190, 231-32 (3d Cir. 2004)
    19   (noting a lack of “express indemnification obligations,” unlike here). Such cases
         did not confront the type of express, contractual, and vested indemnification
    20   provisions raised here.
    21   Nor do the indemnification provisions here become “tenuous” by virtue of possible
    22   defenses thereto. See In re LTC Holdings, Inc., 587 B.R. 25, 38-39 (Bankr. D. Del.
         2018) (“Any possible defenses by the Debtors against [non-debtor’s
    23   indemnification] claim are not enough to derail jurisdiction over [action against
    24   non-debtor]. In other words, the Debtors’ liability to [non-debtor] under the
         indemnification is not contingent on a finding of liability. … [The] indemnification
    25   claim has fully vested and can be acted upon at any point during the [action]”).
    26 20 The policies provide coverage beginning in the 1950s and continuing until
    27 1986, which overlaps with the usage periods alleged by many of the plaintiffs in
       the OSC Cases. See Decl. Ex. M (Denton Declaration), at ¶ 6.
    28
                                            18
              J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                  CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
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     1   claimants against the Debtors’ estates will be decreased. Shared insurance has been
     2   described as constituting a link “decisively favoring” bankruptcy jurisdiction. In re
     3   Fed.-Mogul Global, Inc., 282 B.R. at 310 (citing A.H. Robins).
     4         Fourth, there exists an identity of interest between Imerys and J&J. Just like
     5   in Dow Corning, non-debtor J&J “was closely involved in using the [] material,
     6   originating with the debtor, to make the same, singular product, sold to the same
     7   market and incurring substantially similar injuries.” Arnold v. Garlock, Inc., 278
     8   F.3d 426, 440 (5th Cir. 2001) (citing Dow Corning); accord In re Combustion
     9   Eng’g, 391 F.3d at 230-31 (distinguishing “single product” in Dow from claims
    10   concerning different products, materials, and markets in Combustion, which
    11   suggested no identity of interest in the latter). Imerys has been the sole supplier of
    12   talc to J&J with respect to the products at issue in the Talc Claims. All of
    13   plaintiffs’ claims derive from injury allegedly caused by talc supplied by Debtors.
    14   Thus, the identity of interest between Imerys and J&J is yet another factor showing
    15   that “related to” jurisdiction is anything but tenuous here.
    16         Finally, J&J respectfully submits that “assert[ing] a claim against Imerys’s
    17   estates in the Delaware Bankruptcy Court,” Cabibi Order, p.6; Weirick Order, p.6,
    18   would neither change the immediate effects of the indemnification provisions and
    19   insurance agreements discussed above, nor avert the resulting prejudice to the
    20   Debtors’ estates and J&J that will occur absent the exercise of “related to”
    21   jurisdiction. This is not a case where indemnification is contingent on a finding of
    22   liability in the Talc Claims—covered defense costs are mounting now. Every dollar
    23   spent in that manner affects the Debtors’ estates and impacts the limited pool of
    24 assets available to satisfy other creditors, which include plaintiffs. It is no answer
    25 to “wait and see.”21

    26
       21 For the same reasons, to the extent plaintiffs argue that J&J has not yet filed
    27 proofs of claim in the Chapter 11 Case and that impacts jurisdiction, this is simply

    28 not the standard. Regardless, J&J intends to file such proofs. The bar date has not
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              J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                  CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
Case 2:19-cv-03171-CJC-JC Document 13 Filed 05/13/19 Page 24 of 27 Page ID #:1116




     1                                    CONCLUSION
     2         For the foregoing reasons, as well as those set forth in J&J’s Remand
     3   Oppositions submitted to this Court, the OSC cases should not be remanded or, in
     4   the alternative, should be stayed pending the forthcoming decision from the
     5   Delaware District Court on the Venue Motion.
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         yet been set in the Chapter 11 Case.
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             J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                 CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
Case 2:19-cv-03171-CJC-JC Document 13 Filed 05/13/19 Page 25 of 27 Page ID #:1117




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     2
         DATED: May 13, 2019                    TUCKER ELLIS LLP

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     4
                                                By: /s/ Nicholas Janizeh
     5
                                                Michael C. Zellers
     6                                          Amanda Villalobos
                                                Nicholas Janizeh
     7                                          Caroline Toole
                                                Attorneys for Defendants
     8                                          JOHNSON & JOHNSON and
     9                                          JOHNSON & JOHNSON
                                                CONSUMER INC.
    10

    11   DATED: May 13, 2019                     SHOOK HARDY & BACON, LLP
    12

    13

    14                                           By: /s/ Michael F. Healy
                                                       Michael F. Healy
    15                                                 Emily M. Weissenberger
                                                       Alexander Guney
    16                                           Attorneys for Defendants
    17                                           JOHNSON & JOHNSON and
                                                 JOHNSON & JOHNSON
    18                                           CONSUMER INC.
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            J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
Case 2:19-cv-03171-CJC-JC Document 13 Filed 05/13/19 Page 26 of 27 Page ID #:1118




     1          ATTESTATION PURSUANT TO LOCAL RULE 5-4.3.4(a)(2)(i)
     2         I, Nicholas Janizeh, am the ECF User whose identification and password are
     3   being used to file this document. In compliance with Civil Local Rule 5-
     4   4.3.4(a)(2)(i), I hereby attest that all signatories have concurred in this filing.
     5

     6                                                   By: /s/ Nicholas Janizeh
                                                                Nicholas Janizeh
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     1
                                   CERTIFICATE OF SERVICE

     2       I declare that I am a citizen of the United States and a resident of Los
       Angeles, California or employed in the County of Los Angeles, State of California.
     3 I am over the age of 18 and not a party to the within action. My business address
                                                        nd
     4 is Tucker Ellis LLP, 515 So. Flower Street., 42 Floor, Los Angeles, California,
       90071-2223.
     5

     6   On May 13, 2019, I served the following documents:

     7          1.    DEFENDANTS JOHNSON & JOHNSON AND JOHNSON &
     8                JOHNSON CONSUMER INC.’S RESPONSE TO ORDER TO
                      SHOW CAUSE WHY REMAINING CENTRAL DISTRICT
     9                TALC ACTIONS SHOULD NOT BE REMANDED
    10
                2.    DECLARATION OF AMANDA VILLALOBOS IN SUPPORT
    11                THEREOF
    12

    13   on the interested parties in this action by:

    14   (X)    ELECTRONICALLY VIA ECF: the above-entitled document to be
    15          served electronically through the United States District Court, Central
                District ECF website, addressed to all parties appearing on the Court’s ECF
    16          service list. A copy of the “Filing Receipt” page will be maintained with the
    17          original document in our office.

    18
         (√)    FEDERAL: I declare that I am employed in the office of a member of the
    19          bar of this Court at whose direction the service was made. I declare under
    20          penalty of perjury under the laws of the United States of America that the
                foregoing is true and correct.
    21

    22          Executed at Los Angeles, California on May 13, 2019.
    23

    24                                              /s/ Nicholas Janizeh
                                                    Nicholas Janizeh
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               J&J’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE WHY REMAINING
                   CENTRAL DISTRICT TALC CLAIMS SHOULD NOT BE REMANDED
